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UNITED STATES DISTRICT COURT
ARIZONA - TUCSON

February 25, 2019

 

USA v. Alexander True Norman Case Number: 19-02949MJ-001-TUC-LCK

ORDER SETTING CONDITIONS OF RELEASE

Defendant is ORDERED released on PERSONAL RECOGNIZANCE (O/R).

NEXT APPEARANCE: as directed by the Court. '/ men

 

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FEB 25 2019

 

 

DEFENDANT IS SUBJECT TO THE FOLLOWING CONDITIONS:

 

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. ' . . D|S |CT OFAR|ZONA
l. Defendant promises to appear at all proceedmgs as required and to s,mendenf‘bpsemceb£mer
sentence imposed.

2. Defendant shall not commit any federal, state or local crime.

3. Defendant shall cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § l4l35a.

4. Defendant shall IMMEDIATELY advise his/her attorney and Pretrial Services, in' writing,
PRIOR TO any change in residence address, mailing address or telephone number.

Pursuant to the Adam Walsh Child Protection~ and Safety Act of 2006, Pretrial Services
respectfully recommends the following mandatory conditions in compliance with 18 USC
§ 3142(c)(1)(B):

5. Defendant shall report as directed to the U.S. PRETRIAL SERVICES 1-800-758-7505 or
520-205-4350; 405 W. Congress St., Suite 2633.

6. Defendant shall abide by the following restrictions on his or her personal associations, place of
abode or travel: THE DEFENDANT SHALL NOT TRAVEL OUT OF THE STATE OF
ARIZONA, UNLESS EXPRESS PRIOR COURT PERMISSION IS GRANTED TO TRAVEL
ELSEWHERE.

7. Defendant shall avoid all direct or indirect contact With persons Who are considered alleged
victim(s), potential witness(es)

8. Defendant shall surrender all travel documents to Pretrial Services by March 4, 2019, and Will
not obtain a passport or other travel document during the pendency of these`proceedings.

9. Defendant shall not possess any firearm, destructive device, or other dangerous Weapon or
ammunition .

CC: Pretrial Services, USM

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lO.Defendant shall participate in a mental health treatment program as directed by Pretrial
Services, and comply With all the treatment requirements including taking all medication
prescribed by the mental health care provider, and make copayment toward the cost of such
services as directed by Pretrial Services. -

ll.Defendant shall participate in the following location monitoring program components and abide
by its requirements as the Pretrial Services officer or supervising officer instructs:

Home Detention: Defendant is restricted to his/her residence at all times except for
employment; education; religious services; medical, substance abuse, or mental health
treatment; attorney visits; court appearances; court-ordered obligations; or other activities as
pre-approved by Pretrial Services.

12. Defendant shall submit to the location monitoring technology at the Officer's discretion and
abide by all of the program requirements and instructions provided by the Pretrial Services
Officer or Supervising Officer related to the proper operation of the technology. The defendant
must pay all or part of the cost of the program based upon your ability to pay as the Pretrial
Services office or Supervising Officer determines

13.Defendant shall participate in the Computer Monitoring Program as directed by the Pretrial
Services Office and follow all rules and regulations of the program. Defendant Will incur the
cost of monitoring services as directed by Pretrial Services. Additional conditions of the
Computer Monitoring Program are as follows:

a. Defendant shall not establish any email accounts or internet services accounts unless
previously authorized by Pretrial Services. _Defendant shall provide financial documents as
requested by Pretrial Services to confirm compliance with this condition.

b. Defendant shall not use a computer to access any pornographic, sexually explicit or
stimulating material in any form as defined by 18 U. S. C. 2256(2) and shall immediately
contact Pretrial Services to report access to any restricted site. .

l4.Defendant shall not possess or access any device which allows access to the Internet unless
authorized by Pretrial Services.

15 .Defendant shall avoid unsupervised contact With any minors under the age of 18 Without the
` presence of a responsible adult without prior permission of the supervising Officer and shall
report immediately any unauthorized contact with any minor to Pretrial Services.

ADVICE OF PENALTIES AND SANCTIONS

Violation of any of the foregoing conditions of release may result in the immediate issuance of a
Warrant for the defendant's arrest, a revocation of release, an order of detention, as provided in 18
U.S.C. §3148, forfeiture of bond, and a prosecution for contempt as provided in 18 U.S.C. §401 Which

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could result in a possible term of imprisonment or a fine, or both. The commission of any offense
while on pretrial release may result in an additional sentence upon conviction for such offense to a term
of imprisonment of not less than two years nor more than ten years, if the offense is a felony; or a term
of imprisonment of not less than ninety days nor more than one year, if the offense is a misdemeanor.
This sentence shall be consecutive to any other sentence and must be imposed in addition to the
sentence received for the offense itself.

18 U.S.C. §1503 makes -it a criminal offense punishable by up to five years of imprisonment and a
$250,000 fine to intimidate or attempt to intimidate a Witness, juror or officer of. the court; 18 U.S.C.
§1510 makes it a criminal offense punishable by up to five years of imprisonment and a $250,000 fine
to obstruct a criminal investigation; 18 U.S.C. §1512 makes it a criminal offense punishable by up to
ten years of imprisonment and a- $250,000 fine to tamper with a witness, victim or informant; and 18
U.S.C. §1513 makes it a criminal offense punishable by up to ten years of imprisonment and a
$250,000 fine to retaliate against a Witness, victim or informant, or threaten or attempt to do so. ` ‘
. lt is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence
pursuant to a court order. If the defendant was released in connection with a charge of, or while
awaiting sentence, surrender for the service of a sentence, or appeal or certiorari after conviction, for:

(1) an offense punishable by death, life imprisonment, .or` imprisonment for a term of fifteen
years or more, the defendant shall be fined not more than $250,000 or imprisoned for not
more than ten years, or-both:

(Z)an offense punishable by imprisonment,for a term of five years or more, but less than fifteen
years, the defendant shall be fined not more than 8250,000 or imprisoned for not more than ,
five years or both;

(3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not
more than two years, or both;

(4) a misdemeanor, the defendant shall be fined not more than $lO0,000 or imprisoned not more
than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be'consecutive to the
sentence of imprisonment for any other offense In addition, a failure to appear may result in the
forfeiture of any bail posted. '

ACKNOWLEDGMENTS
I, the Defendant, acknowledge 1 am aware of the conditions of my release. I promise to obey all
conditions, appear as directed and surrender for service of any sentence imposed. 'I» am aware of the
penalties and sanctions set forth above.

 

DATE SlGNATURE ADDRESS AND PHONE NUMBER OF DEFENDANT

%>%? M /' Ref Pretrial Services Report - not public record

This order authorizes the U.S. Marshal to release the defendant from custody.

 

 

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Bond set by: ' Jacqueline M. Rateau Defendant released by: Jacqueline M. Rateau

 

 

Signed before me on this date: February 25, 2019

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